Case: 23-2030    Document: 00118158705    Page: 1   Date Filed: 06/20/2024   Entry ID: 6650191


                      UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT



                                         No. 23-2030

                                 LISA MENNINGER,

                                   Plaintiff-Appellee,

                                             v.

                                PPD Development, L.P.,

                                 Defendant-Appellant.


                      MOTION TO ALLOW LATE-FILING OF
                        PLAINTIFF-APPELLEE’S BRIEF

            Pursuant to Federal Rules of Appellate Procedure 26 and 27,

      Plaintiff-Appellee respectfully requests leave for late-filing of her brief,

      which was tendered for filing on June 19, 2024. Defendant-Appellee

      has assented to this request.

            1.     Plaintiff-Appellee’s brief was due on June 17, 2024.
Case: 23-2030    Document: 00118158705   Page: 2   Date Filed: 06/20/2024     Entry ID: 6650191



            2.     As noted in prior motions, undersigned counsel has been

                   dealing with the recent death of his sister, whose funeral

                   was on June 15, 2024.

            3.     Although undersigned had anticipated being able to

                   complete and file Plaintiff-Appellee’s brief by June 17,

                   2024, he was unexpectedly deterred due to circumstances

                   surrounding his sister’s passing, and therefore unable to

                   do so. Accordingly, undersigned tendered the brief at his

                   earliest possible opportunity, which was the early

                   morning hours of June 19, 2024.

                                   CONCLUSION
            For the foregoing reasons, Plaintiff-Appellee respectfully requests

      that her late-tendered brief be accepted for filing.
Case: 23-2030   Document: 00118158705   Page: 3   Date Filed: 06/20/2024   Entry ID: 6650191




                                         Respectfully submitted,


                                         /s/ Patrick J. Hannon
                                         Patrick J. Hannon (BBO #664958)
                                         Hartley Michon Robb Hannon LLP
                                         101 Federal Street, Suite 1810
                                         Boston, MA 02110
                                         phannon@hmrhlaw.com
                                         P: (617) 723-8000
                                         Attorneys for Plaintiff-Appellee
Case: 23-2030   Document: 00118158705   Page: 4     Date Filed: 06/20/2024   Entry ID: 6650191




                        CERTIFICATE OF COMPLIANCE

            Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby

      certify that this motion complies with Federal Rule of Appellate

      Procedure 27(d)(1)(E) because it was prepared with Century Schoolbook

      14-point, a proportionally spaced font with serifs, and the motion

      complies with Federal Rule of Appellate Procedure 27(d)(2) because it

      contains 270 words, according to the word count of Microsoft Word.



                                                  /s/ Patrick J. Hannon
                                                  Patrick J. Hannon
